     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 1 of 22 Page ID #:874




 1   DAVID C. WEISS
     Special Counsel
 2
     LEO J. WISE
 3   Principal Senior Assistant Special Counsel
     DEREK E. HINES
 4
     Senior Assistant Special Counsel
 5         950 Pennsylvania Avenue NW, Room B-200
           Washington, D.C. 20530
 6
           Telephone: (771) 217-6091
 7         E-mail:      Leo.Wise@USDOJ.GOV, DEH@USDOJ.GOV
 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA
10
                              UNITED STATES DISTRICT COURT
11
12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                      No. CR 23-cr-00599-MCS
14               Plaintiff,                         GOVERNMENT’S OPPOSITION TO
15                                                  DEFENDANT’S MOTION TO DISMISS
                        v.
16                                                  THE INDICTMENT FOR DUE PROCESS
     ROBERT HUNTER BIDEN,                           VIOLATIONS BASED ON
17                                                  OUTRAGEOUS GOVERNMENT
18               Defendant.                         CONDUCT

19                                                  Hearing Date:   March 27, 2024
20                                                  Hearing Time:   1:00 p.m.
                                                    Location:       Courtroom of the
21                                                                  Hon. Mark Scarsi
22
23
24         Plaintiff United States of America, by and through its counsel of record, hereby
25   opposes defendant’s motion to dismiss the indictment for due process violations based
26   on outrageous government conduct (Dkt. 28) (the “Motion”).
27   //
28
                                                1
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 2 of 22 Page ID #:875




 1         This opposition is based upon the attached memorandum of points and authorities,
 2   the files and records in this case, and any further argument as the Court may deem
 3   necessary.
 4
 5    Dated: March 11, 2024                   Respectfully submitted,
 6
                                              DAVID C. WEISS
 7                                            Special Counsel
 8
                                              /s/
 9                                            LEO J. WISE
                                              Principal Senior Assistant Special Counsel
10
11                                            DEREK E. HINES
12                                            Senior Assistant Special Counsel

13                                            Attorneys for Plaintiff
14                                            UNITED STATES OF AMERICA

15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                2
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 3 of 22 Page ID #:876




 1                                             TABLE OF CONTENTS
 2
 3   I.     INTRODUCTION AND SUMMARY.................................................................... 1
 4
     II.    ARGUMENT ........................................................................................................... 2
 5
 6          A.       The Defendant’s Motion to Dismiss for Outrageous Government
                     Misconduct Should be Denied ...................................................................... 2
 7
 8                   1.       Congress has provided multiple remedies for violations of
                              6103 and dismissal of indictments is not one of them. ....................... 2
 9
                     2.       The Defendant has failed to prove that the charges in this case
10
                              resulted from the public statements of Shapley and Ziegler. ............. 4
11
                     3.       Shapley and Ziegler’s involvement in the tax investigation
12                            ended one year before charges were brought...................................... 9
13
                     4.       The defendant has not established any “outrageous
14                            misconduct” on the part of the IRS. .................................................. 10
15          B.       The Defendant’s Motion to Dismiss the Indictment Pursuant to the
16                   Court’s Supervisory Powers Should Be Denied. ........................................ 12
17   III.   CONCLUSION...................................................................................................... 16
18
19
20
21
22
23
24
25
26
27
28
                                                                  i
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 4 of 22 Page ID #:877




 1                                           TABLE OF AUTHORITIES
 2   Cases                                                                                                          Page(s)
 3   Bank of Nova Scotia v. United States,
 4     487 U.S. 250 (1988) ................................................................................................ 14, 15
 5   United States v. Bundy,
 6     968 F.3d 1019 (9th Cir. 2020) ...................................................................... 5, 12, 14, 15
 7   Greene v. United States,
 8     454 F.2d 783 (9th Cir. 1971) .......................................................................................... 6
 9   Marvin v. United States,
10     732 F.2d 669 (8th Cir.1984) ........................................................................................... 3
11   Rushen v. Spain,
12     464 U.S. 114 (1983) ...................................................................................................... 13
13   United States v. Barnes,
14     604 F.2d 121 (2d Cir.1979)............................................................................................. 3
15   United States v. Bundy,
16     968 F.3d 1019 (9th Cir. 2020) ...................................................................... 5, 12, 14, 15
17   United States v. Chemical Bank,
18     593 F.2d 451 (2d Cir. 1979)............................................................................................ 3
19   United States v. Ciszkowski,
20     492 F.3d 1264 (11th Cir. 2007) ...................................................................................... 6
21   United States v. Citro,
22     842 F.2d 1149 (9th Cir. 1988) ........................................................................................ 6
23   United States v. Claiborne,
24     765 F.2d 784 (9th Cir. 1985) .......................................................................................... 3
25   United States v. Combs,
26     827 F.3d 790 (8th Cir. 2016) ...................................................................................... 6, 8
27
28
                                                                  ii
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 5 of 22 Page ID #:878




 1   United States v. Frazin,
 2     780 F.2d 1461 (9th Cir. 1986) ........................................................................................ 3
 3   United States v. Garza-Juarez,
 4     992 F.2d 896 (9th Cir. 1993) .................................................................................. 6, 8, 9
 5   United States v. Hasting,
 6     461 U.S. 499 (1983) ...................................................................................................... 15
 7   United States v. Isgro,
 8     974 F.2d 1091 (9th Cir. 1992) ...................................................................................... 13
 9   United States v. Jayyousi,
10     657 F.3d 1085 (11th Cir. 2011) ...................................................................................... 7
11   United States v. King,
12     351 F.3d 859 (8th Cir. 2003) .......................................................................................... 6
13   United States v. Marshank,
14     777 F.Supp. 1507 (N.D. Cal. 1991) ................................................................................ 8
15   United States v. McLaughlin,
16     910 F. Supp. 1054 (E.D. Pa. 1995) ........................................................................... 4, 14
17   United States v. Michaelian,
18     803 F.2d 1042 (9th Cir. 1986) .................................................................................... 1, 3
19   United States v. Montalvo-Murillo,
20     495 U.S. 711 (1990) ...................................................................................................... 13
21   United States v. Morrison,
22     449 U.S. 361 (1981) ...................................................................................................... 13
23   United States v. Pedrin,
24     797 F.3d 792 (9th Cir. 2015) ............................................................................ 4, 7, 9, 10
25   United States v. Russell,
26     411 U.S. 423 (1973) ................................................................................................ 4, 6, 7
27   United States v. Samango,
28
                                                                  iii
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 6 of 22 Page ID #:879




 1      607 F.2d 877 (9th Cir. 1979) ........................................................................................ 15
 2   United States v. Smith,
 3      924 F.2d 889 (9th Cir. 1991) .......................................................................................... 9
 4   United States v. Stein,
 5      No. S1 05 Crim. 0888 (LAK), 2008 WL 4212516 (S.D.N.Y. Sept. 10, 2008) .............. 3
 6   United States v. Stenberg
 7      803 F.2d 422 (9th Cir. 1986)....................................................................................... 5, 8
 8   United States v. Struckman,
 9      611 F.3d 560 (9th Cir. 2010) ........................................................................................ 12
10   United States v. Williams,
11      504 U.S. 36 (1992) .................................................................................................. 14, 15
12   Statutes
13   5 U.S.C. § 552 ................................................................................................................... 13
14   18 U.S.C. § 401(3) ............................................................................................................ 14
15   18 U.S.C. § 1905 ................................................................................................................. 3
16   26 U.S.C. § 6103 ........................................................................................................passim
17   26 U.S.C. § 7213 ................................................................................................................. 3
18   26 U.S.C. § 7431 ............................................................................................................... 13
19
20
21
22
23
24
25
26
27
28
                                                                      iv
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 7 of 22 Page ID #:880




 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION AND SUMMARY
 3         The defendant has moved to dismiss the indictment returned by the grand jury in
 4   this case “as it results from what courts define as outrageous government conduct that
 5   violates his right to due process of law.” Motion at 1. The conduct of which he complains
 6   consists of testimony before Congress and statements on television of two IRS agents,
 7   Gary Shapley and Joseph Ziegler, in 2023, after they ceased working on this case. In sum,
 8   these two agents have made unsubstantiated claims that prosecutors’ decision-making in
 9   this investigation was affected by politics. In advancing his claim, the defendant acts no
10   differently than these two agents, making unfounded accusations that prosecutors’
11   decision-making in this case was affected by politics, although in the opposite direction.
12   In any event, the defendant has failed to put forth any evidence that the indictment resulted
13   from Shapley and Ziegler’s public comments. And that’s because it didn’t.
14         Defense counsel baldly asserts that the agents’ public statements to Congress and
15   on television were not authorized by 26 U.S.C. § 6103 and violated Federal Rule of
16   Criminal Procedure 6(e). Whether that is the case or not is irrelevant because the Ninth
17   Circuit has held that where Congress has created remedies to statutory violations, as it has
18   done with Section 6103, judicially created remedies like dismissing an indictment are not
19   appropriate. United States v. Michaelian, 803 F.2d 1042, 1043 (9th Cir. 1986). And even
20   if the Ninth Circuit had not already foreclosed dismissal, the defendant’s motions should
21   still be denied because the question before the court, as framed by the defendant in his
22   motion and the relevant case law, is whether charges in this case “resulted” from Shapley
23   and Ziegler’s conduct. Because the defendant fails to offer any evidence that the charges
24   resulted from Shapley and Ziegler’s conduct, his motion should be denied.
25         In all of the discovery produced to date, the defendant points to no evidence
26   suggesting that the indictment resulted from Shapley and Ziegler. There is none because
27   Shapley and Ziegler ceased having any involvement in the investigation before the instant
28
                                                  1
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 8 of 22 Page ID #:881




 1   charges were brought. See Exh. 1 (“Batdorf Declaration”). Thus, there was nothing they
 2   could do to result in the indictment.
 3         Nor does the defendant’s contention that the IRS “committed its own ‘outrageous
 4   conduct’ by not taking action to curtail the misconduct or prevent the unauthorized
 5   disclosure of confidential grand jury and taxpayer return information,” have any merit.
 6   The defendant fails to offer any evidence that inaction by the IRS “resulted” in the charges
 7   in this case. And as a factual matter, the defendant’s contentions about the IRS are
 8   incorrect.
 9         Nor should the court dismiss the indictment as an exercise in its supervisory
10   authority, as the defendant urges the court to do. If the two agents broke the law by
11   testifying in Congress and appearing on television, there are other remedies available to
12   address their conduct, including criminal prosecution, a civil action, of which the
13   defendant has already availed himself, and disciplinary actions by the IRS. The agents’
14   actions came after their participation in the investigation of the defendant concluded. The
15   defendant has failed to show that the agents’ actions had any effect on either the
16   investigation, or the grand jury’s decision to indict the defendant. Consequently, these
17   actions did not implicate the integrity of the proceedings. Finally, it is the specter of
18   criminal prosecution, civil actions and agency discipline that will deter agents from
19   making disclosures not authorized by 26 U.S.C. § 6103, not the dismissal of a valid
20   indictment of the defendant returned by a grand jury.
21   II.   ARGUMENT
22         A.     The Defendant’s Motion to Dismiss for Outrageous Government
23                Misconduct Should be Denied
24                1.     Congress has provided multiple remedies for violations of 6103 and
25                       dismissal of indictments is not one of them.
26         Assuming for the sake of argument that Shapley and Ziegler’s public statements
27   were not authorized by 26 U.S.C. § 6103, the Ninth Circuit has foreclosed dismissal of the
28
                                                  2
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 9 of 22 Page ID #:882




 1   indictment as a remedy. In United States v. Michaelian, the defendant asserted that federal
 2   agents violated the confidentiality requirement of 26 U.S.C. § 6103 and moved to dismiss
 3   the indictment. 803 F.2d 1042, 1043 (9th Cir. 1986). The district court denied the motion
 4   to dismiss. The Ninth Circuit held that “the district court did not abuse its discretion in
 5   refusing to fashion a dismissal or suppression remedy for a violation of § 6103.” Id. at
 6   1050. In reaching that conclusion the Ninth Circuit noted that:
 7         It is clear that Congress specifically provided criminal penalties for
 8         unauthorized disclosure of tax return information in violation of § 6103. See
 9         26 U.S.C. § 7213, 18 U.S.C. § 1905; United States v. Chemical Bank, 593
10         F.2d 451, 457 (2d Cir. 1979). This Court has previously demonstrated its
11         reluctance to imply a judicial remedy for violations of § 6103 given
12         Congress’ explicit provision of a remedy. See United States v. Claiborne, 765
13         F.2d 784, 793 (9th Cir. 1985) (§ 6103(i)), cert. denied, 475 U.S. 1120, 106
14         S.Ct. 1636, 90 L.Ed.2d 182 (1986). Cf. United States v. Frazin, 780 F.2d
15         1461, 1466 (9th Cir. 1986) (Financial Right to Privacy Act provided for civil
16         penalties). Other circuits have reached similar conclusions. See, e.g., Marvin
17         v. United States, 732 F.2d 669, 673 (8th Cir.1984); United States v. Barnes,
18         604 F.2d 121, 146 (2d Cir.1979), cert. denied, 446 U.S. 907, 100 S.Ct. 1833,
19         64 L.Ed.2d 260 (1980). Indeed, no court has held that a § 6103 violation
20         warrants dismissal or suppression.
21   Id. at 1049 (emphasis added). The defendant does not address Michaelian nor does he cite
22   a single case where a court held that a violation of § 6103 warrants dismissal. And the
23   logic of the Ninth Circuit’s decision in Michaelian applies with equal force to this case.
24   The remedies Congress provided for violations of § 6103 are available here, if appropriate.
25   Dismissing a valid indictment returned by a lawful grand jury is not one of them.1
26   1
            Other courts have reached the same conclusion as the Ninth Circuit in Michaelian.
27   See, e.g., United States v. Stein, No. S1 05 Crim. 0888 (LAK), 2008 WL 4212516, at *2
28                                                             (footnote cont’d on next page)
                                                  3
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 10 of 22 Page ID #:883




 1                2.     The Defendant has failed to prove that the charges in this case resulted
 2                       from the public statements of Shapley and Ziegler.
 3         The defendant moved to dismiss the indictment “as it results from what courts
 4   define as outrageous conduct that violates his right to due process of law,” citing the Ninth
 5   Circuit’s decision in United States v. Pedrin, 797 F.3d 792 (9th Cir. 2015). Motion at 1
 6   (emphasis added). As described above, the “outrageous government misconduct,”
 7   according to the defendant, consists of the agents’ testimony before Congress and
 8   subsequent media appearances. Id. at 2. Because defendant offers no evidence that the
 9   charges in this case “resulted from” the IRS agent’s public statements, the test he concedes
10   he must satisfy in the very first sentence of his motion as quoted above, his motion should
11   be dismissed.
12         In Pedrin, the Ninth Circuit held that,
13         A prosecution results from outrageous government conduct when the actions
14         of law enforcement officers or informants are “so outrageous that due process
15         principles would absolutely bar the government from invoking judicial
16         processes to obtain a conviction.”
17   Id. at 795 (quoting United States v. Russell, 411 U.S. 423, 431–32 (1973)) (emphasis
18   added). In other words, there must be a causal link between the conduct and the charges
19   the defendant faces or his conviction. It is that link that establishes a due process violation.
20   The conduct may violate other statutes, give rise to civil liability, agency disciplinary
21   action, or other outcomes. To establish a due process violation, however, the defendant
22   must show that the charges resulted from the conduct.
23
24   (S.D.N.Y. Sept. 10, 2008) (“Congress has provided civil and criminal remedies for
     violations of Section 6103. Courts therefore have declined to create additional remedies
25   such as suppression of evidence or dismissal.”); see also United States v. McLaughlin, 910
26   F. Supp. 1054, 1062 (E.D. Pa. 1995) (“… dismissal of the indictment is not an appropriate
     remedy for Special Agent White’s alleged violations of federal statutes … . Adding the
27   sanction of dismissal of an indictment would thwart Congress’ and the IRS’ respective
28   wills.”).
                                                 4
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 11 of 22 Page ID #:884




 1         In United States v. Stenberg, cited by the defendant in his Motion, the Ninth Circuit
 2   described the kind of conduct that gives rise to a due process violation:
 3         We have also stated that “the due process channel which Russell kept open is
 4         a most narrow one.” The outrageous government conduct defense is available
 5         only where “the government is so involved in the criminal endeavor that it
 6         shocks our sense of justice.” Constitutionally unacceptable conduct includes,
 7         but is not limited to, situations where law enforcement agents employed
 8         unwarranted physical or mental coercion, where “government agents
 9         engineer and direct the criminal enterprise from start to finish,” and where
10         the government essentially manufactures new crimes in order to obtain the
11         defendant’s conviction.
12   803 F.2d 422, 429 (9th Cir. 1986) (internal citations omitted). Here, the two IRS agents
13   were not involved in the “criminal endeavor” in any way. As the Ninth Circuit further
14   noted in Stenberg, “[o]n the other hand, the outrageous conduct defense is generally
15   unavailable where the criminal enterprise was already in progress before the government
16   became involved or where the defendant was involved in a continuing series of similar
17   crimes during the government conduct at issue.” 803 F.2d at 429. The criminal conduct at
18   issue here, the defendant’s various tax offenses as charged in the indictment, were
19   committed years before the two IRS agents made public statements beginning in the spring
20   of 2023.
21         More recently, the Ninth Circuit repeated the Stenberg formulation of the
22   outrageous government misconduct doctrine. In United States v. Bundy, the Ninth Circuit
23   noted that “[t]he due process argument is usually raised in situations where law
24   enforcement conduct involves extreme physical or mental brutality or where the crime is
25   manufactured by the government from whole cloth.” 968 F.3d 1019, 1030 (9th Cir. 2020).
26   The Ninth Circuit has also held that outrageous conduct may be found when the
27   government “operate[s], for an extended period of time, an actual and illegal apparatus.”
28
                                                  5
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 12 of 22 Page ID #:885




 1   United States v. Garza-Juarez, 992 F.2d 896, 904 (9th Cir. 1993); Greene v. United States,
 2   454 F.2d 783, 786–87 (9th Cir. 1971) (government established illegal bootlegging
 3   operation, provided substantial equipment and supplies, ran it for two-and-a-half years and
 4   was its sole customer)); see also United States v. Citro, 842 F.2d 1149, 1152–53 (9th Cir.
 5   1988) (“This defense ... may be applied where involvement by undercover police officers
 6   or informers in contraband offenses is so extensive that due process prevents the
 7   conviction of even a predisposed defendant.”)
 8         Obviously, none of those circumstances are present here.
 9         Other circuits that have recognized the outrageous government misconduct doctrine
10   (and not all circuits have) have similarly required a nexus between the conduct and the
11   charges brought or the defendant’s conviction. The Eighth Circuit has held that:
12         Like the Supreme Court in United States v. Russell, 411 U.S. 423, 431–32,
13         93 S.Ct. 1637, 36 L.Ed.2d 366 (1973), our cases have left open the possibility
14         that, in rare instances, the investigative methods employed by law
15         enforcement could be “so outrageous that due process bars the government
16         from invoking the judicial process to obtain a conviction.”
17   United States v. Combs, 827 F.3d 790, 794 (8th Cir. 2016) (quoting United States v. King,
18   351 F.3d 859, 867 (8th Cir. 2003)) (emphasis added). Here, the defendant does not even
19   allege, much less prove, that the investigative methods employed by law enforcement
20   amounted to outrageous government misconduct that resulted in the charges in this case.
21   Making public statements to Congress and on television are not “investigative methods”
22   of any kind. In fact, these statements were all made after Shapley and Ziegler ceased to be
23   involved in the tax investigation into the defendant. See Exh. 1 at ¶¶ 3-5.
24         The Eleventh Circuit has held that “[o]utrageous government conduct occurs when
25   law enforcement obtains a conviction for conduct beyond the defendant’s predisposition
26   by employing methods that fail to comport with due process guarantees.’” United States
27   v. Ciszkowski, 492 F.3d 1264, 1270 (11th Cir. 2007) (emphasis added). The Eleventh
28
                                                  6
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 13 of 22 Page ID #:886




 1   Circuit has further explained, “the actionable government misconduct must relate to the
 2   defendant’s underlying or charged criminal acts.” United States v. Jayyousi, 657 F.3d
 3   1085, 1111 (11th Cir. 2011). In Jayyousi, the defendant moved to dismiss the indictment,
 4   not based on “any government intrusion into his underlying criminal conduct,” but based
 5   on “alleged mistreatment he received at the brig after the conclusion of his criminal acts
 6   and prior to the indictment on the present charges.” Id. at 1112. The Eleventh Circuit held
 7   that even if it were to adopt the outrageous government conduct doctrine, “the doctrine
 8   does not apply in this situation.” Id. Similarly, here the defendant does not claim that
 9   Shapley and Ziegler had any role in his criminal conduct. Instead, like the defendant in
10   Jayyousi, he claims to have been mistreated, in his case by Shapley and Ziegler’s public
11   comments.
12         Not surprisingly, precisely because the test is whether outrageous government
13   conduct resulted in charges or the conviction of a defendant, in each of the cases the
14   defendant cites, the charges resulted from such conduct.2
15         • In United States v. Russell, the first case cited by the defendant in his motion, an
16             undercover agent offered the defendants a legal but difficult to obtain chemical
17             that was used in the production of illegal narcotics. 411 U.S. at 425. The
18             defendant accepted the government’s agent’s offer and was ultimately charged
19             with narcotics offenses.
20         • In Pedrin, an undercover agent presented the defendant with the opportunity to
21             rob a fictitious stash house, where there was supposedly a large quantity of
22             cocaine, referred to in the opinion as a “reverse sting operation.” 797 F.3d at
23             795. The defendant took the agent up on his offer and took various steps in
24             preparation for the robbery of the stash house and was charged with conspiracy
25             to possess with intent to distribute cocaine.
26
27         2
             In each of these cases, with the exception of Marshank, the defendant’s conviction
28   was affirmed.
                                                   7
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 14 of 22 Page ID #:887




 1         • In Combs, the “investigative method” that the defendant argued was outrageous
 2            was “[a] sting operation involving a fake stash-house robbery,” where there was
 3            supposedly a large quantity of cocaine, the same investigative technique at issue
 4            in Pedrin. 827 F.3d at 795. Like in Pedrin, the defendant took various steps to
 5            effectuate the robbery and was charged with conspiracy to possess with intent to
 6            distribute cocaine and other offenses.
 7         • In Stenberg, the United States Fish and Wildlife Service conducted an
 8            undercover operation called “Operation Trophykill,” where an agent posed as a
 9            taxidermist to disrupt the illegal taking and sale of wildlife. 803 F.2d at 424. The
10            complained-of law enforcement conduct included the agent asking one of the
11            defendants to take him on an illegal hunt. Id. The defendant was charged for
12            doing so.
13         • In Garza-Juarez, law enforcement agents posed as purchasers of illegal firearms.
14            992 F.2d at 901. Law enforcement asked the defendants for silencers and a
15            number of illegal weapons, including an automatic weapon that required some
16            “prodding” from law enforcement to get the defendant to agree to supply. Id.
17            The defendants were convicted of firearms charges stemming from these sales.
18         • In United States v. Marshank, the defendant was prosecuted for being a member
19            of a drug conspiracy. 777 F.Supp. 1507 (N.D. Cal. 1991). The defendant moved
20             to dismiss the indictment on the basis of outrageous government conduct
21             because his attorney was working with law enforcement and the U.S. Attorney’s
22             Office to collect evidence to use against him during the course of the
23             investigation.
24   Here, the defendant does not argue that Shapley and Ziegler used any law enforcement
25   technique that resulted in the charges currently before the court. In fact, the conduct he
26   complains of occurred after Shapley and Ziegler ceased to have any role in the
27   investigation. See Exh. 1 at ¶¶ 3-5.
28
                                                  8
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 15 of 22 Page ID #:888




 1         The standard for dismissal for outrageous government misconduct is “extremely
 2   high.” Pedrin, 797 F.3d at 795; Garza-Juarez, 992 F.2d at 904; United States v. Smith,
 3   924 F.2d 889, 897 (9th Cir. 1991).
 4         As quoted above, the defendant has moved the court to dismiss the indictment “as
 5   it results from what courts define as outrageous government conduct that violates his right
 6   to due process of law.” Motion at 1 (emphasis added). Specifically, he claims that a June
 7   28, 2023, television appearance by Shapley on Fox News was “just the start of the public
 8   campaign that would ultimately result in Special Counsel Weiss reneging on his initial
 9   offer and revert to charging Mr. Biden with nine tax counts in this jurisdiction, including
10   three felony charges.” Motion at 7-8. But he never explains how the media appearance or
11   the “public campaign” led to the charges. And the defendant does not cite a single case
12   where a court dismissed an indictment because law enforcement agents made public
13   statements about an investigation that they were no longer working on. Instead, as
14   described above, all of the cases cited by the defendant involve specific law enforcement
15   techniques, reverse stash house stings, undercover operations, and others, that “resulted”
16   in the charges that a defendant seeks to dismiss.
17         Most importantly, the defendant offers no evidence to support his contention that
18   Shapley and Ziegler’s public statements “result[ed]” in the Special Counsel charging the
19   defendant with nine tax counts, including three felony charges. Having failed to meet the
20   “extremely high” burden of establishing that outrageous government conduct resulted in
21   the charges in this case, the motion to dismiss should be denied.
22                3.    Shapley and Ziegler’s involvement in the tax investigation ended one
23                      year before charges were brought.
24         While the defendant has failed to offer any proof that Shapley and Ziegler’s public
25   statements resulted in the charges in this case and the government bears no burden to
26   disprove an unfounded claim, it is worth noting that IRS leadership had decided to remove
27   Shapley and Ziegler from the investigation by the end of 2022 and that they were formally
28
                                                  9
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 16 of 22 Page ID #:889




 1   replaced by new IRS agents in May 2023, seven months before the indictment was
 2   returned by the grand jury on December 7, 2023. See Exh. 1 at ¶¶ 3-5. Thus, the actions
 3   of Shapley and Ziegler could not have had anything to do with the charges that were
 4   presented to the grand jury one year after they ceased to be involved in the case.
 5                4.     The defendant has not established any “outrageous misconduct” on the
 6                       part of the IRS.
 7          The defendant also asserts that the IRS “committed its own outrageous conduct by
 8   not taking action to curtail the misconduct or prevent the unauthorized disclose of
 9   confidential grand jury and taxpayer return information.” Motion at 1-2. This argument
10   likewise fails because the defendant offers no proof that anything the IRS did or did not
11   do about Shapley and Ziegler “resulted” in the charges in this case. Pedrin, 797 F.3d at
12   795.
13          While the defendant repeatedly asserts, without any factual support, that the IRS
14   took no action to address Shapley and Ziegler’s decision to make public statements, that
15   is simply not true, as his own motion makes clear. In his motion, the defendant quotes an
16   email dated May 19, 2023, from the Assistant Special Agent in Charge. Motion at 17. In
17   that email, Shapley and Ziegler’s supervisor wrote:
18          You have been told several times that you need to follow your chain of
19          command. IRS-CI maintains a chain of command for numerous reasons to
20          include trying to stop unauthorized disclosures. Your email yesterday may
21          have included potential grand (aka 6e material) in the subject line and
22          contents of the email, and you included recipients that are not on the 6e list.
23   Id. That email that the defendant has attached as Exhibit B to his Motion contradicts the
24   defendant’s repeated assertion that the IRS took no steps to address Shapley and Ziegler’s
25   conduct. Further, as described in the attached declaration, Exhibit 2 (filed under seal), the
26   IRS has taken responsible steps to address Shapley and Ziegler’s conduct. See Exh. 2 at
27   ¶¶ 3-8.
28
                                                  10
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 17 of 22 Page ID #:890




 1         In addition, on May 25, 2023, the day before Shapley testified in a closed-door
 2   deposition before the House Ways and Means Committee, the IRS Deputy Commissioner
 3   for Services and Enforcement sent an email to all IRS Services and Enforcement
 4   employees, including Shapley and Ziegler, providing guidance on “options” for reporting
 5   “potential wrongdoing involving activities where information is subject to protection
 6   under” Section 6103 and Federal Rules of Criminal Procedure 6(e). See Exh. 3 (email of
 7   May 25, 2023).
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23         In addition, on July 7, 2023, more than a week before Shapley and Ziegler testified
24   in an open hearing before the House Oversight and Accountability Committee, the
25   Commissioner of the IRS sent an email to all IRS employees, including Shapley and
26   Ziegler, that discussed “The option(s) you may choose for reporting whistleblower
27   concerns” and addressing “the right approach” “if the issue to be reported might include
28
                                                11
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 18 of 22 Page ID #:891




 1   taxpayer information protected by Section 6103 of the IRC or information protected by
 2   Federal Rule of Criminal Procedure 6(e). See Exh. 6 (email of July 7, 2023).
 3         B.     The Defendant’s Motion to Dismiss the Indictment Pursuant to the
 4                Court’s Supervisory Powers Should Be Denied
 5         In the alternative, the defendant asks this court to dismiss the indictment in the
 6   exercise of its supervisory powers. Motion at 17. It should not. The defendant does not
 7   cite a single case where a valid indictment was dismissed because of public statements by
 8   law enforcement agents that were not shown to have resulted in the charges in the case.
 9   And none exists.
10         As the Ninth Circuit held in Bundy:
11         A district court may dismiss an indictment under its inherent supervisory
12         powers “(1) to implement a remedy for the violation of a recognized statutory
13         or constitutional right; (2) to preserve judicial integrity by ensuring that a
14         conviction rests on appropriate considerations validly before a jury; and (3)
15         to deter future illegal conduct.”
16   968 F.3d at 1030 (quoting United States v. Struckman, 611 F.3d 560, 574 (9th Cir. 2010)).
17   None of these factors are present here.
18         First, if Shapley and Ziegler have made disclosures not authorized by 26 U.S.C. §
19   6103, as described above, Congress has created statutory remedies to address their
20   conduct. Thus, the court need not dismiss the indictment as a remedy for a violation of
21   Section 6103. Bundy, 968 F.3d at 1030. Statutory remedies are available. Title 26, United
22   States Code, Section 7213 makes it felony punishable by five years’ incarceration,
23   criminal fines and termination of employment, to make any disclosure of returns or return
24   information not authorized by that section. Title 18, United States Code, Section 1905 also
25   makes it a crime punishable by one year incarceration to disclose confidential information,
26   including return information. Violations of 7213 are investigated by the Inspector General
27   for Tax Administration (“TIGTA”), who can refer them for prosecution if appropriate. It
28
                                                 12
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 19 of 22 Page ID #:892




 1   is a “general rule that remedies should be tailored to the injury suffered from the
 2   constitutional violation and should not unnecessarily infringe on competing interests,”
 3   including the government’s interest in prosecution and the public’s interest in the
 4   administration of criminal justice. United States v. Morrison, 449 U.S. 361, 364-65 (1981)
 5   (holding that dismissal of the indictment is “plainly inappropriate” for violations of Fourth,
 6   Fifth, and Sixth Amendment rights because “[t]he remedy in criminal cases is limited to
 7   denying the prosecution the fruits of its transgression”); accord United States v. Montalvo-
 8   Murillo, 495 U.S. 711, 721-22 (1990) (rejecting overbroad remedy that did not target the
 9   specific harm); Rushen v. Spain, 464 U.S. 114, 119-20 (1983) (“The adequacy of any
10   remedy is determined solely by its ability to mitigate constitutional error, if any, that has
11   occurred.”); see also United States v. Isgro, 974 F.2d 1091, 1097 (9th Cir. 1992)
12   (“Dismissal of an indictment with prejudice is the most severe sanction possible.... In
13   deciding whether to dismiss an indictment, a court must not only determine whether a
14   defendant has suffered actual prejudice, it must also limit its consideration to those events
15   that actually bear upon the grand jury's decision to indict.”).
16         Congress has also created a civil cause of action in 26 U.S.C. § 7431, which
17   provides damages for unauthorized disclosures in violation of section 6103. The defendant
18   has already availed himself of this remedy, filing suit against the IRS in the United States
19   District Court for the District of Columbia on September 18, 2023. His complaint seeks
20   damages and other relief for alleged violations of Section 7431 and of the Privacy Act, 5
21   U.S.C. § 552. See Robert Hunter Biden v. United States Internal Revenue Service, 1:23-
22   cv-02711 (D.D.C.).
23         Agents who make unlawful disclosures can also be disciplined by the IRS pursuant
24   to their internal policies. See Internal Revenue Manual § 752.232(1) (providing for IRS
25   discipline for statutory violations by employees).
26         Similarly, if the agents disclosed grand jury information, the appropriate remedy is
27   for them to be investigated by TIGTA, referred for criminal prosecution, if appropriate
28
                                                  13
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 20 of 22 Page ID #:893




 1   and/or disciplined by the IRS.3 Dismissing an indictment that is valid on its face and that
 2   was properly returned by a grand jury one year after the agents ceased to have any role in
 3   the investigation is not an appropriate remedy for violations of the grand jury secrecy rules.
 4   The Supreme Court reached a similar conclusion in Bank of Nova Scotia v. United States,
 5   where it rejected the dismissal of an indictment for, among other things, violations of Rule
 6   6, noting that “[e]rrors of the kind alleged in these cases can be remedied adequately by
 7   means other than dismissal. For example, a knowing violation of Rule 6 may be punished
 8   as a contempt of court.” Bank of Nova Scotia v. United States, 487 U.S. 250, 263 (1988).
 9         Second, because the defendant has failed to establish that Shapley and Ziegler’s
10   public statements resulted in the charges in this case, there is nothing to suggest that the
11   charges rest on anything but “appropriate considerations validly before a [grand] jury.”
12   Bundy, 968 F.3d at 1030. Exercise of the court’s supervisory function to preserve judicial
13   integrity is “only appropriate when the government misbehavior violates ‘clear’ rules
14   designed to protect the fairness of the trial process or grand jury.” United States v.
15   McLaughlin, 910 F. Supp. 1054, 1060 (E.D. Pa. 1995) (citing United States v. Williams,
16   504 U.S. 36, 45–46 (1992)). The defendant does not allege that outrageous misconduct
17   affected the fairness of the grand jury. Thus, there is no risk to judicial integrity by
18   allowing the case to proceed.
19         The Supreme Court’s decision in Bank of Nova Scotia, which the defendant tries
20   unsuccessfully to distinguish, see Motion at 18-19, is also instructive on the question of
21   preserving judicial integrity. 487 U.S. 250. In Bank of Nova Scotia, the Supreme Court
22   concluded that violations of Rule 6 by law enforcement agents did not warrant dismissal
23   of the indictment because the agents’ misconduct did not infringe on the grand jury’s
24
25         3
             Persons bound by the rule of grand jury secrecy in Federal Rule of Criminal
26   Procedure 6(e)(2) are subject to prosecution for criminal contempt under 18 U.S.C. §
     401(3) for the unauthorized disclosure of grand jury information. The unauthorized
27   disclosure of grand jury information can also be punished under other criminal statutes as
28   well as pursuant to a district court's contempt powers.
                                                  14
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 21 of 22 Page ID #:894




 1   ability to exercise independent judgment. Id. at 253-54. Similarly, in United States v.
 2   Williams, the Supreme Court explained that dismissal of an indictment by a court in the
 3   exercise of its supervisory powers is only appropriate when the government misbehavior
 4   violates “clear” rules designed to protect the fairness of the trial process or grand jury. 504
 5   U.S. at 45–46. Here, the defendant does not allege any misconduct before the grand jury.
 6   Shapley and Ziegler ceased to be part of the investigation approximately one year before
 7   the grand jury returned the indictment.
 8         While the defendant claims that Shapley and Ziegler’s conduct in this case is similar
 9   to the conduct in United States v. Samango, it is not. 607 F.2d 877 (9th Cir. 1979). The
10   conduct at issue in Samango concerned the presentation of an indictment to a grand jury.
11   There is no allegation here that anything improper occurred before the grand jury and
12   neither Shapley nor Ziegler has ever appeared before a grand jury in this case.
13         Third, dismissing an otherwise valid indictment will not deter future misconduct, if
14   the agents’ actions are found to constitute misconduct. Bundy, 968 F.3d at 1030. Shapley
15   and Ziegler have no role in this case and have not had one since late 2022. They will not
16   be specifically deterred by having the charges dismissed; nor will dismissing the charges
17   send a general deterrent message to other IRS agents. Instead, what will deter unauthorized
18   disclosures of returns or return information or grand jury material will be prosecution for
19   criminal violations, if appropriate, civil remedies and agency personnel action. Further,
20   the Supreme Court has held that “deterrence is an inappropriate basis for reversal where
21   ‘means more narrowly tailored to deter objectionable prosecutorial conduct are
22   available.’” Bank of Nova Scotia, 487 U.S. at 255 (quoting United States v. Hasting, 461
23   U.S. 499, 506 (1983)). The same logic applies to dismissal of a valid indictment where
24   there are “means more narrowly tailored to deter objectionable conduct,” by law
25   enforcement including disciplinary actions by their agency and even criminal prosecution
26   of the agents themselves.
27
28
                                                   15
     Case 2:23-cr-00599-MCS Document 42 Filed 03/11/24 Page 22 of 22 Page ID #:895




 1   III.   CONCLUSION
 2          The defendant’s motion to dismiss the indictment because of public statements
 3   made by two IRS agents formerly assigned to the case is meritless and should be denied.
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               16
